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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


BLUEMARK ENERGY, LLC.,

                Plaintiff,

v.                                               Case No. 21-CV-04088-DDC-ADM

CITY OF ALMA, KANSAS,

                Defendant.


                             JOINT MOTION FOR LEAVE TO FILE
                               AGREED PROTECTIVE ORDER



       COMES NOW the Plaintiff, by and through counsel, Roger N. Walter of Morris,

Laing, Evans, Brock & Kennedy, Chtd. and the Defendant, City of Alma, Kansas by and

through counsel, Justice B. King of Fisher, Patterson, Sayler & Smith, L.L.P., and file this

joint motion for leave of the Court to file the revised Agreed Protective Order as submitted

to the Court.



Prepared and approved by:


/s/ Roger N. Walter
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     Case 5:21-cv-04088-DDC-ADM Document 23 Filed 03/22/22 Page 2 of 2




Approved by:


/s/ Justice B. King
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